                                                                              USDC SDNY
                                                                              DOCUMENT
                                                                              ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                  DOC #:
SOUTHERN DISTRICT OF NEW YORK                                                 DATE FILED: 11/9/2020
- -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - - x
                                                            :
UNITED STATES OF AMERICA
                                                            :    FINAL ORDER OF FORFEITURE
              -v.-
                                                            :    S1 15 Cr. 93 (VEC)
SHELDON SILVER,
                                                            :
              Defendant.
                                                            :
- -- - - -- - - -- - - -- - - -- - - -- - - -- - - -- - - - x

        WHEREAS, on or about July 20, 2020, the Court entered a Consent Preliminary Order of

Forfeiture as to Specific Property/Money Judgment (Dkt. No. 526) (the “Second Order of

Forfeiture”) with respect to the defendant, Sheldon Silver, forfeiting all of the defendant’s right,

title, and interest in the following property, which constitute proceeds traceable to the offenses

charged in Counts Three, Four, and Six of the Indictment that the defendant personally obtained

and/or property involved in the offense charged in Count Seven of the Indictment that the

defendant personally obtained:

                 a.       Any and all funds, assets, accounts, or notes held by, in the name of, as
                          nominee for, and/or for the benefit of Sheldon Silver at JoRon
                          Management LLC, including, but not limited to, distributions totaling at
                          least $43,935.17 currently held by the United States Marshals Service;

                 b.       Any and all funds, assets, accounts, or notes held by, in the name of, as
                          nominee for, and/or for the benefit of Sheldon Silver at Alpha Orbit LLC;

                 c.       Any and all funds, assets, accounts, or notes held by, in the name of, as
                          nominee for, and/or for the benefit of Sheldon Silver at Clover
                          Communities Fund I, L.P., including, but not limited to, distributions
                          totaling at least $250,661.02 currently held by the United States Marshals
                          Service;

                 d.       Any and all funds, assets, accounts, or notes held by, in the name of, as
                          nominee for, and/or for the benefit of Sheldon Silver at Clover
                          Communities Fund II L.P.;
               e.      Any and all funds, assets, accounts, or notes held by, in the name of, as
                       nominee for, and/or for the benefit of Sheldon Silver at Clover
                       Communities Fund III, L.P.;

               f.      Any and all funds, assets, accounts, or notes held by, in the name of, as
                       nominee for, and/or for the benefit of Sheldon Silver at Clover-Brighton
                       Square;

               g.      Any and all funds, assets, accounts, or notes held by, in the name of, as
                       nominee for, and/or for the benefit of Sheldon Silver at Lerer Ventures II,
                       L.P.; and

               h.      Any and all funds, assets, accounts, or notes held by, in the name of, as
                       nominee for, and/or for the benefit of Sheldon Silver at NewSat;

(a through h, collectively, the “Specific Property”);

       WHEREAS, the Second Order of Forfeiture directed the United States to publish, for at

least thirty (30) consecutive days, notice of the Second Order of Forfeiture, notice of the United

States’ intent to dispose of the Specific Property, and the requirement that any person asserting a

legal interest in the Specific Property must file a petition with the Court in accordance with the

requirements of Title 21, United States Code, Sections 853(n)(2) and (3). The Second Order of

Forfeiture further stated that the United States could, to the extent practicable, provide direct

written notice to any person known to have an alleged interest in the Specific Property and as a

substitute for published notice as to those persons so notified;

       WHEREAS, the provisions of Title 21, United State Code, Section 853(n)(1), Rule

32.2(b)(6) of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv)(C) and G(5)(a)(ii) of

the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, require

publication of a notice of forfeiture and of the Government’s intent to dispose of the Specific

Property before the United States can have clear title to the Specific Property;

       WHEREAS, the Notice of Forfeiture and the intent of the United States to dispose of the

Specific Property was posted on an official government internet site (www.forfeiture.gov)


                                                  2
beginning on July 24, 2020, for thirty (30) consecutive days, through August 22, 2020, pursuant

to Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty and Maritime Claims and Asset

Forfeiture Actions and proof of such publication was filed on November 6, 2020 (Dkt. No. 531);

         WHEREAS, thirty (30) days have expired since final publication of the Notice of

Forfeiture and no petitions or claims to contest the forfeiture of the Specific Property have been

filed;

         WHEREAS, the defendant is the only person and/or entity known by the Government to

have a potential interest the Specific Property; and

         WHEREAS, pursuant to Title 21, United States Code, Section 853(n)(7), the United States

shall have clear title to any forfeited property if no petitions for a hearing to contest the forfeiture

have been filed within thirty (30) days of final publication of notice of forfeiture as set forth in

Title 21, United States Code, Section 853(n)(2);

         NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

         1.     All right, title and interest in the Specific Property is hereby forfeited and vested in

the United States of America, and shall be disposed of according to law.

         2.     Pursuant to Title 21, United States Code, Section 853(n)(7), the United States of

America shall and is hereby deemed to have clear title to the Specific Property.

         3.     The United States Marshals Service (or its designee) shall take possession of the

Specific Property and dispose of the same according to law, in accordance with Title 21, United

States Code, Section 853(h).

         4.     The Clerk of the Court shall forward four certified copies of this Final Order of

Forfeiture to Assistant United States Attorney Alexander J. Wilson, Co-Chief, Money Laundering




                                                   3
and Transnational Criminal Enterprises Unit, United States Attorney’s Office, Southern District

of New York, One St. Andrew’s Plaza, New York, New York 10007.

Dated: New York, New York
                 9 2020
       November __,

                                                   SO ORDERED:


                                                   ____________________________________
                                                   HONORABLE VALERIE E. CAPRONI
                                                   UNITED STATES DISTRICT JUDGE




                                              4
